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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION
 UNITED STATES OF AMERICA and    §
 STATE OF TEXAS ex rel. DR. JOSE §
 DONES                           §                           CIVIL ACTION NO. 1:21-cv-00181
                                 §
   Plaintiffs                    §
                                 §
   vs.                           §
                                 §
 HARLINGEN MEDICAL CENTER, L.P. §
 DR. ERIC G. SIX, VALLEY         §
 NEUROSURGEONS, P.L.LC.,         §
 MICHAEL GONZALEZ, NUERA         §
 MEDICAL L.L.C. and PRIME        §
 HEALTHCARE SERVICES, INC.       §
                                 §
       Defendants                §

                                              ORDER
       On the ____ day of ________________, 2023, this Court considered the Motion to

Dismiss filed by Defendants Michael Gonzales (“Mr. Gonzales”) and NuERA Medical, L.L.C.

(“NuERA”) (collectively, “Moving Defendants”), asking this Court to dismiss Dr. Jose

Dones’s (“Relator”) First Amended Complaint (Dkt. 18, “Complaint”)(“this motion”).

       After considering this motion, any responses and/or replies thereto, the evidence before

the Court, and/or the arguments of counsel, this Court is of the opinion that this motion is

meritorious and should be GRANTED in all respects.

       It is therefore ORDERED, ADJUDGED and DECREED that all claims and causes of

action that were asserted, or that could have been asserted, by Plaintiffs/Relator against Moving

Defendants are dismissed with prejudice.

       All relief sought by any party against any other party that is not explicitly granted in this
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Order is DENIED.

      This is a final judgment that adjudicates all claims of all parties and is appealable.

      Signed on this _____ day of _________________, 2023.




                                     __________________________

                                     HON. FERNANDO RODRIGUEZ, JR.,
                                     United States District Court Judge
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 26, 2023, I electronically filed the foregoing Defendants
Michael Gonzales and NuERA Medical L.L.C.’s Proposed Order using the CM/ECF system,
which will automatically send email notification of such filing to all attorneys of record.


                                            Clinton Mikel /s/
                                            Clinton Mikel
